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                                   STATES BANKRUPTCY   5
                                    DISTRICT OF PUERTO RICO


   IN RE:                                          CASE NO. 19-01554-MCF
   LIZZETTE ALVARADO CASTILLO
                                                       CHAPTER 13

            DEBTOR (S)


                                  TRUSTEE'S MOTION TO DISMISS

   TO THE HONORABLE COURT:

         NOW COMES José R. Carrión, Chapter 13 Trustee, through the undersigned attorney, and
   very respectfully alleges and prays:

         1. The Debtor(s) failed to commence making payments under the proposed plan in
   violation of what is required pursuant to 11 U.S.C. §1326(a)(1).

         2. There is CAUSE for this case dismissal as the Debtor(s) is (are) in material
   `default with respect to the terms of the confirmed plan (or proposed plan). As of
   May 10, 2019 the default is equal to $100.00. 11 U.S.C. §1307(c)(6).     Situation that
constitutes an unreasonable delay prejudicial to creditors. 11 U.S.C. §1307    (c)(1).

         WHEREFORE the Trustee respectfully prays that this motion be granted and that an
   order dismissing this case be entered for cause pursuant to 11 U.S.C. §1307(c) for the
   reasons herein set forth.

         30 DAYS NOTICE: Pursuant to General Order No. 05-09, the Debtor(s), his/her/their
   counsel of record, and all those parties in interest who have filed a notice of appearance
   in this case, are hereby notified that unless a party in interest files an objection hereto
   within 30 days from the date of this notice, the case may be dismissed or converted without
   the need of further notice or hearing.

         NEGATIVE CERTIFICATION PURSUANT TO SECTION 201(B)(4) OF THE SERVICEMEN’S CIVIL RELIEF
   ACT OF 2003: The Chapter 13 Trustee declares that according to the attached certification(
   s), provided by the Department of Defense Manpower Data Center (DMDC), the Debtor(s) is
   (are) not in active duty or under call to active duty as a member(s) of the ARMY, NAVY, or
   AIR FORCES of the United States of America; National Guard; the Public Health Service or
   the National Oceanic and Atmospheric Administration.

         CERTIFICATE OF SERVICE: The Chapter 13 Trustee herewith certified that a copy of
   this motion has been served on this same date, to their respective address of record to:
   Debtor(s), to their counsel and to all those parties in interest who have filed a notice of
   appearance by First Class Mail if not an ECFS register user.

         In San Juan, Puerto Rico this Friday, May 10, 2019.

                                                         /s/ Jose R. Carrion

                                                         JOSE R. CARRION CHAPTER 13 TRUSTEE
                                                         PO Box 9023884, San Juan, PR 00902
                                                         Tel (787) 977-3535
                                                         FAX (787) 977-3550
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Department of Defense Manpower Data Document
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                                                                       Results as of : May-10-2019 08:16:21 AM

                                                                                                                                                                                         SCRA 4.11




SSN:                          XXX-XX-2625
Birth Date:
Last Name:                    ALVARADO CASTILLO
First Name:                   LIZZETTE
Middle Name:
Status As Of:                 May-10-2019
Certificate ID:               S9W4Z2H9R53TTWR

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
         Case:19-01554-MCF13 Doc#:20 Filed:05/10/19 Entered:05/10/19 12:29:52                                                         Desc: Main
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
                                                          Document Page 3 of 5
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
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                                CERTIFICATE     Page 4 of 5
                                            OF MAILING

The undersigned hereby certifies that a true copy of the foregoing document was
mailed by first class mail to the parties listed below:
JOSE R. CARRION                                   MARIA DE LOS ANGELES GONZALEZ, ESQ.
PO BOX 9023884, OLD SAN JUAN STATION              US POST OFFICE & COURTHOUSE
SAN JUAN, PR 00902                                300 RECINTO SUR ST., SUITE 109
                                                  OLD SAN JUAN, PR 00901

JUAN C   BIGAS VALEDON*                           DEPARTMENT OF TREASURY
JUAN C   BIGAS LAW OFFICE                         PO BOX 9024140
PO BOX   7011                                     SAN JUAN, PR 00902
PONCE,   PR 00732-7011

UNEMPLOYMENT INSURANCE                            LIZZETTE ALVARADO CASTILLO
PUERTO RICO DEPT OF LABOR                         COND GALLARDO GARDENS
12 FLOOR 505 MUNOZ RIVERA AVE.                    1020 AVE LUIS VIGOREAUX APT C-2-C
                                                  GUAYNABO, PR 00966
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS            CITICARDS
PO BOX 7066                                       701E 60TH ST N
SAN JUAN, PR 00916-7066                           SIOUX FALLS, SD 57104


EASTERN AMERICA INSURANCE COMPANY                  FIRST BANK
PO BOX 9023862                                     PO BOX 9146
SAN JUAN, PR 00902                                 SAN JUAN, PR    00908-0146


FIRST BANK DE PUERTO RICO                          JUAN CARLOS BIGAS VALEDON
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MACYS/ DSNB                                        MONEY EXPRESS
PO BOX 8218                                        PO BOX 11867
MASON, OH 45040                                    SAN JUAN,, PR    00910-3867


MONEY EXPRESS                                      NOREEN WISCOVITCH RENTAS
FIRSTBANK                                          PMB 136
PO BOX 9146                                        400 CALAF ST
SAN JUAN, PR 00908-0146                            SAN JUAN, PR 00918

ORIENTAL BANK                                      ORIENTAL BANK
PO BOX 364745                                      RETAIL OPERATION & COLLECTIONS
SAN JUAN, PR 00936-4745                            BOX 364745,
                                                   SAN JUAN, P.R.

ORIENTAL BANK CENTRALIZED COLLECTIONS UNIT BANKRUPTCY
                                                SCOTIABANK
                                                      DIVISION
                                                            DE PUERTO RICO
C/O JAIME RUIZ- SALDANA ESQ                     C/O JUAN C FORTUNO FAS
PO BOX 364745                                   PO BOX 9300
SAN JUAN, PR 00936-4745                         SAN JUAN, PR 00908

SCOTIABANK DE PUERTO RICO                          SEARS/CBNA
PO BOX 363368                                      133200 SMITH RD
SAN JUAN,, PR 00936-3368                           CLEVELAND, OH 44130




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ORLANDO, FL 32896                                ORLANDO,, FL   32896-5007


SYNCB/PEP BOYS                                   SYNCB/TJX COS DC
C/O PO BOX 965036                                PO BOX 965005
ORLANDO, FL 32896                                ORLANDO,, FL 32896-5005


DATED:   May 10, 2019                              CAROLINE MARTINEZ
                                                  OFFICE OF THE CHAPTER 13 TRUSTEE




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